            Case 1:19-cv-09532-DLC Document 1 Filed 10/16/19 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ROBERT BARBERA,

                                Plaintiff,                    Docket No. 1:19-cv-9532

        - against -                                           JURY TRIAL DEMANDED

 JUSTIN BIEBER BRANDS, LLC and JUSTIN BIEBER

                                Defendant.


                                         COMPLAINT

       Plaintiff Robert Barbera (“Barbera” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Justin Bieber Brands, LLC (“Justin Bieber

Brands”) and Justin Bieber (“Bieber” and together with Justin Bieber Brands “Defendants”)

hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendants unauthorized reproduction and public display of a

copyrighted photograph of singer-songwriter Justin Bieber, owned and registered by Barbera, a

New York based professional photographer. Accordingly, Barbera seeks monetary relief under

the Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.
            Case 1:19-cv-09532-DLC Document 1 Filed 10/16/19 Page 2 of 4



       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Barbera is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 300 West 55th

Street, Suite 6B, New York, New York 10019.

       6.      Upon information and belief, Justin Bieber Brands is a domestic limited liability

company duly organized and existing under the laws of the State of Delaware, with a place of

business at 1755 Broadway, New York, New York 10019. Upon information and belief, Justin

Bieber Brands operates an Instagram Page at the URL: www.Instagram.com/JustinBieber (the

“Website”)

       7.      Upon information and belief, Justin Bieber is an individual residing in New York.

Upon information and belief, Justin Bieber operates an Instagram Page at the URL:

www.Instagram.com/JustinBieber (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       8.      Barbera photographed singer-songwriter Justin Bieber (the “Photograph”). A true

and correct copy of the Photograph is attached hereto as Exhibit A.

       9.      Barbera is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       10.     The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-142-998.

       B.      Defendant’s Infringing Activities
            Case 1:19-cv-09532-DLC Document 1 Filed 10/16/19 Page 3 of 4



          11.   Defendants ran the Photograph on the Website. A screenshot of the Photograph

on the Website is attached hereto in Exhibit B.

          12.   The Website received 3,905,147 likes.

          12.   Defendants did not license the Photograph from Plaintiff for its Website, nor did

Defendants have Plaintiff’s permission or consent to publish the Photograph on its Website.

                               CLAIM FOR RELIEF
                   (COPYRIGHT INFRINGEMENT AGAINST DEFENDANTS)
                               (17 U.S.C. §§ 106, 501)

          13.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-12 above.

          14.   Defendants infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Defendants are not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          15.   The acts of Defendants complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          16.   Upon information and belief, the foregoing acts of infringement by Defendants

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          17.   As a direct and proximate cause of the infringement by the Defendants of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendants profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                     PRAYER FOR RELIEF
            Case 1:19-cv-09532-DLC Document 1 Filed 10/16/19 Page 4 of 4



       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Defendants be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      Plaintiff be awarded Plaintiff’s actual damages and Defendants profits, gains or

               advantages of any kind attributable to Defendants infringement of Plaintiff’s

               Photograph;

       3.      That Defendants be required to account for all profits, income, receipts, or other

               benefits derived by Defendants as a result of its unlawful conduct;

       4.      That Plaintiff be awarded punitive damages for copyright infringement;

       5.      That Plaintiff be awarded attorney’s fees and costs;

       6.      That Plaintiff be awarded pre-judgment interest; and

       7.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).


Dated: Valley Stream, New York
       October 15, 2019
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